                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                              )
D.V.D., et al.,                               )
                                              )
Individually and on behalf of all others      )
similarly situated,                           )
                                              )
                Plaintiffs,                   )      No. 1:25-cv-10676-BEM
                                              )
        v.                                    )
                                              )
U.S. Department of Homeland Security, et al., )
                                              )
                Defendants.                   )
                                              )
                                              )

                  DEFENDANTS’ STATUS REPORT REGARDING O.C.G.

       Consistent with the Court’s May 23, 2025 order requiring an update “as to the status of

O.C.G.’s return,” ECF No. 132 at 13, Defendants report the following information which

Defendants have provided to undersigned counsel:

   1. The Immigration and Customs Enforcement (ICE) Enforcement and Removal Operations

       (ERO) Phoenix Field Office made contact with O.C.G.’s attorneys over the May 24-25,

       2025 weekend.

   2. A Significant Public Benefit Parole packet has been approved and forwarded to Homeland

       Security Investigations (HSI) for approval.

   3. ERO Phoenix is currently working with ICE Air to bring O.C.G. back to the United States

       on an Air Charter Operations (ACO) flight return leg.
Respectfully submitted,

 YAAKOV M. ROTH                                 /s/Matthew P. Seamon
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                                CERTIFICATE OF SERVICE

        I, Matthew Seamon, Senior Litigation Counsel, hereby certify that this document filed
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants.

                                                    /s/ Matthew P. Seamon
                                                    Matthew P. Seamon
Dated: May 28, 2025                                 Senior Litigation Counsel
